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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON(s)

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

         Defendants.
   ________________________________/

                       GOVERNMENT’S RESPONSE TO ORDER
               REQUIRING PRELIMINARY PROPOSED JURY INSTRUCTIONS
                       AND VERDICT FORMS ON COUNTS 1-32

          The Court has issued an order (ECF No. 407) directing the parties to file preliminary

   proposed jury instructions and verdict forms for Counts 1-32 of the Superseding Indictment, with

   a specific requirement that the parties “engage with [two] competing scenarios and offer alternative

   draft text that assumes each scenario to be a correct formulation of the law to be issued to the jury.”

   Both scenarios rest on an unstated and fundamentally flawed legal premise—namely, that the

   Presidential Records Act (“PRA”), and in particular its distinction between “personal” and

   “Presidential” records, see 44 U.S.C. § 2201 (2), (3), determines whether a former President is

   “[]authorized,” under the Espionage Act, 18 U.S.C. § 793(e), to possess highly classified

   documents and store them in an unsecure facility, despite contrary rules in Executive Order (“EO”)

   13526, which governs the possession and storage of classified information.

          That legal premise is wrong, and a jury instruction for Section 793 that reflects that premise

   would distort the trial. The PRA’s distinction between personal and presidential records has no
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   bearing on whether a former President’s possession of documents containing national defense

   information is authorized under the Espionage Act, and the PRA should play no role in the jury

   instructions on the elements of Section 793. See ECF No. 373 at 5-12. Indeed, based on the

   current record, the PRA should not play any role at trial at all.

          Moreover, it is vitally important that the Court promptly decide whether the unstated legal

   premise underlying the recent order does, in the Court’s view, represent “a correct formulation of

   the law.” ECF No. 407 at 2. If the Court wrongly concludes that it does, and that it intends to

   include the PRA in the jury instructions regarding what is authorized under Section 793, it must

   inform the parties of that decision well in advance of trial. The Government must have the

   opportunity to consider appellate review well before jeopardy attaches. See, e.g., United States v.

   Wexler, 31 F.3d 117, 129 (3d Cir. 1994) (“[T]he adoption of a clearly erroneous jury instruction

   that entails a high probability of failure of a prosecution—a failure the government could not then

   seek to remedy by appeal or otherwise—constitutes the kind of extraordinary situation in which

   we are empowered to issue the writ of mandamus.”); In re United States, 397 F.3d 274, 283 (5th

   Cir. 2005) (courts “have permitted the Government to obtain writs of mandamus when a proposed

   criminal jury instruction clearly violated the law, risked prejudicing the Government at trial with

   jeopardy attached, and provided the Government no other avenue of appeal”); United States v.

   Pabon-Cruz, 391 F.3d 86, 91-92 (2d Cir. 2004) (similar).

          If, for example, the Court concludes—as posited in Scenario (a) in the Court’s order—that

   under the Espionage Act a former President is authorized to possess any document that the jury

   determines qualifies as a personal record as defined by the PRA, that would wrongly present to

   the jury a factual determination that should have no legal consequence under the elements of

   Section 793. Likewise, if the Court concludes—as posited in Scenario (b)—that a President has



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   carte blanche to remove any document from the White House at the end of his presidency; that any

   document so removed must be treated as a personal record under the PRA as an unreviewable

   matter of law; and that, also as a matter of law, a former President is forever authorized to possess

   such a document regardless of how highly classified it may be and how it is stored, that would

   constitute a “clearly erroneous jury instruction that entails a high probability of failure of a

   prosecution,” Wexler, 31 F.3d at 129, and the Government must be provided with an opportunity

   to seek prompt appellate review.

          As in any case, the Court may defer ruling on certain aspects of jury instructions where the

   applicability or non-applicability of the instructions turns on the evidence that is presented at trial.

   For example, whether the jury should be instructed on how to evaluate law enforcement testimony

   or how to evaluate expert witness testimony will turn on whether such witnesses actually testify at

   trial. Such decisions can obviously be deferred. But the question of whether the PRA has an

   impact on the element of unauthorized possession under Section 793(e) does not turn on any

   evidentiary issue, and it cannot be deferred. It is purely a question of law that must be decided

   promptly. If the Court were to defer a decision on that fundamental legal question it would inject

   substantial delay into the trial and, worse, prevent the Government from seeking review before

   jeopardy attaches. See Fed. R. Crim. P. 12(d). (“The court must not defer ruling on a pretrial

   motion if the deferral will adversely affect a party’s right to appeal.”).

          As instructed by the Court, the Government below provides a clear and well-supported jury

   instruction for the elements of Section 793(e). The proposed instruction correctly instructs the

   jury that the element of unauthorized possession depends on the plain language of the statute,

   Executive Order 13526, and the executive order’s implementing regulations, and it makes no

   mention of purported designations under the PRA. As required by the Court’s order, the



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   Government also provides proposed jury instructions that incorporate the inaccurate legal premises

   reflected in the Court’s order under Scenario (a) and Scenario (b).

          Furthermore, even though resolution of the threshold legal question is purely a matter of

   law, the Court should be aware at the outset that Trump’s entire effort to rely on the PRA is not

   based on any facts. It is a post hoc justification that was concocted more than a year after he left

   the White House, and his invocation in this Court of the PRA is not grounded in any decision he

   actually made during his presidency to designate as personal any of the records charged in the

   Superseding Indictment. Accordingly, before turning to the jury instructions, the Government

   below provides the Court with the factual context surrounding Trump’s attempt to inject the PRA

   into these proceedings. Importantly, Trump has never represented to this Court that he in fact

   designated the classified documents as personal. He made no such claim in his motion to dismiss,

   in his reply, or at the hearing on March 14, 2024, despite every opportunity and every incentive to

   do so. As discussed below, the reason is simple: he never did so. Instead, he has attempted to

   fashion out of whole cloth a legal presumption that would operate untethered to any facts—without

   regard to his actual decisions, his actual intent, the unambiguous definition of what constitutes

   personal records under the PRA, or the plainly non-personal content of the highly classified

   documents that he retained. There is no basis in law or fact for that legal presumption, and the

   Court should reject Trump’s effort to invent one as a vehicle to inject the PRA into this case.

                                           BACKGROUND

          As the Government has previously explained, there is no colorable argument that any of

   the documents charged in the Superseding Indictment is a personal record under the PRA—i.e., a

   document “of a purely private or nonpublic character which do[es] not relate to or have an effect

   upon the carrying out of the constitutional, statutory, or other official or ceremonial duties of the



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   President.” 44 U.S.C. § 2201(3). To the contrary, the classified documents charged in the

   Superseding Indictment were all “created or received by the President . . . in the course of

   conducting activities which relate to or have an effect upon the carrying out of the constitutional,

   statutory, or other official or ceremonial duties of the President,” id. § 2201(2), making them

   straightforward presidential records. Trump has not argued otherwise. Indeed, it would be pure

   fiction to suggest that highly classified documents created by members of the intelligence

   community and military and presented to the President of the United States during his term in

   office were “purely private” and that they “do not relate to or have an effect upon the carrying out

   of the constitutional, statutory, or other official or ceremonial duties of the President.” Id.

   § 2201(3).

          Trump has nevertheless sought to inject the PRA into the trial of this case by suggesting

   that he may have designated the documents as personal shortly before his term of office ended;

   that, if he did so, such a designation would be impervious to subsequent judicial review; and that

   his possession of any documents he designated as personal under the PRA was “[]authorized” for

   purposes of the Espionage Act, 18 U.S.C. § 793(e), even if contrary to Executive Order 13526. As

   the Government has explained (ECF No. 373 at 12-20), those contentions are both meritless and

   fatally undermined by Trump’s concession (ECF No. 327 at 11-13) that the Department of Justice

   may seek to recover such documents in a civil suit, in which a court would be perfectly free to

   determine whether a particular contested record was personal or presidential. Moreover, Trump

   has never suggested that he in fact designated the documents at issue as personal, but has instead

   sought to convert a statement made during oral argument in Judicial Watch, Inc. v. NARA, 845 F.

   Supp. 2d 288 (D.D.C. 2012), into a legal rule that treats the mere act of transferring documents

   from the White House to anywhere other than the National Archives and Records Administration



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   (“NARA”) as indistinguishable from a considered decision to designate the records as personal.1

   The Government addressed that claim in response to Trump’s Rule 12 motion. See ECF No. 373

   at 13-16. But here, in the context of jury instructions, the Government provides the Court with the

   factual backdrop showing that the very notion that Trump could benefit from a purported

   designation under the PRA was invented long after he left the White House.

          A. Trump Did Not Designate the Documents as Personal While in Office

          During its exhaustive investigation, the Government interviewed Trump’s own PRA

   representatives and numerous high-ranking officials from the White House—Chiefs of Staff,

   White House Counsel and senior members of the White House Counsel’s Office, a National

   Security Advisor, and senior members of the National Security Council. Not a single one had

   heard Trump say that he was designating records as personal or that, at the time he caused the

   transfer of boxes to Mar-a-Lago, he believed that his removal of records amounted to designating

   them as personal under the PRA. To the contrary, every witness who was asked this question had

   never heard such a thing.

          Some of the clearest evidence that Trump did not designate the documents charged in the

   Superseding Indictment as personal while in office comes from Trump’s own statements, and those

   of his PRA representatives, during the year that followed his departure from office. For example,

   during nearly a year of correspondence with NARA regarding the return of the boxes taken from



          1
             In support of his presumptive records designation, Trump has also attempted to rely on
   the allegation in the Superseding Indictment that he sent the classified documents to Mar-a-Lago.
   But that simple factual allegation says nothing about his purported legal designation of the records
   as personal. Indeed, at the hearing on March 14, 2024, the Court noted that Trump’s counsel was
   not even admitting that Trump knowingly sent the classified documents to Mar-a-Lago. 3/14/2024
   Hearing Tr. at 113. Thus, he is attempting to obtain the benefit of a designation regarding the
   classified documents that could flow only from knowing that the documents were being sent to
   Mar-a-Lago, but he refuses to admit that he knew about them.

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   the White House, neither Trump nor any of his representatives suggested that Trump had

   designated all of the records as personal, either deliberately, implicitly, presumptively, or

   otherwise. To the contrary, everyone involved in this back-and-forth agreed that there were

   presidential records that had been taken to Mar-a-Lago that needed to be located and returned to

   NARA. Likewise, in his “off the record” interview with a writer and publicist on July 21, 2021,

   Trump himself never suggested that the classified documents he revealed to them were personal

   or that he was free to do with them whatever he chose. ECF No. 85 ¶¶ 34-35. Instead, he said that

   they were highly confidential and remained classified, id. ¶ 35, despite the fact that he had removed

   them from the White House and taken them to his personal residence.

          Later, after Trump provided fifteen boxes to NARA, the Archivist of the United States

   advised Congress, in a letter released to the public on February 18, 2022, that NARA had

   “identified items marked as classified national security information within the boxes” and

   therefore had “been in communication with the Department of Justice.”2 Trump released a public

   statement in response the same day, stating that “[t]he National Archives did not ‘find’ anything,

   they were given, upon request, Presidential Records in an ordinary and routine process to ensure

   the preservation of my legacy and in accordance with the Presidential Records Act.”3 These were

   Trump’s own words, and there is no hint that he considered the documents to be anything other

   than “Presidential Records.”




          2
                https://www.archives.gov/files/foia/ferriero-response-to-02.09.2022-maloney-letter.
   02.18.2022.pdf.
          3
                 https://www.nbcnews.com/politics/donald-trump/white-house-records-taken-trump
   contained-classified-information-natio-rcna16890 (quoting Trump’s statement).

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           B. The Notion that Trump Might Have Designated the Documents as Personal Was
              First Invented in February 2022

           On February 7, 2022, the Washington Post reported that that, in January, NARA had

   “retrieved 15 boxes of documents and other items from former president Donald Trump’s Mar-a-

   Lago residence because the material should have been turned over to the agency when he left the

   White House.”4 That article quoted a statement by the Archivist noting, “‘The Presidential

   Records Act is critical to our democracy, in which the government is held accountable by the

   people.’” Id. At that point, the public reporting related only to Trump’s non-compliance with the

   PRA; the fact that he had retained highly classified materials did not become public for several

   days.

           On February 8, 2022, the day after the Washington Post article was published, the president

   of Judicial Watch posted the following two statements on Twitter5:




           4
                  https://www.washingtonpost.com/politics/2022/02/07/trump-records-mar-a-lago/.
           5
                    https://twitter.com/TomFitton/status/1491050688763564037;
   https://twitter.com/TomFitton/status/1491056826913529858.

                                                    8
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           Immediately after posting the second Tweet, the Judicial Watch president sent to an

   employee in Trump’s post-presidency office a link to the Tweet and offered to discuss the issue

   with Trump. A few hours later, the Judicial Watch president sent the same person his analysis of

   the case Judicial Watch v. NARA, 845 F. Supp. 2d 288 (D.D.C. 2012). That evening, the Judicial

   Watch president circulated to the employee a proposed public statement for Trump’s consideration,

   which included language that the PRA and judicial decisions gave Trump the right to keep the

   documents he returned to NARA. The statement never issued.

               Around this same time, the Judicial Watch president, who was not an attorney, told another

   Trump employee that Trump was being given bad advice, and that the records Trump possessed at

   Mar-a-Lago should have been characterized as personal. The second employee advised the

   Judicial Watch president that they disagreed with the Judicial Watch president’s analysis: in

   Judicial Watch, former President Clinton had made the designation of certain records personal

   while President, whereas Trump had not done so. The second employee further informed Trump

   that the Judicial Watch president was wrong and explained why. Nevertheless, on February 10,

   2022, Trump released a statement claiming in part, “I have been told I was under no obligation to

   give the material based on various legal rulings that have been made over the years.”6 Before this

   time, the second employee had never heard this theory from Trump. No other witness recalled

   Trump espousing this theory until after the Judicial Watch president conveyed it to him in February

   2022.




           6
                https://www.justsecurity.org/wp-content/uploads/2022/11/Statement-by-Donald-J-
   Trump-Feb-10-2022.pdf.

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              C. Trump and His Attorneys Nevertheless Continued to Acknowledge that the
                 Documents Were Presidential, Not Personal, Records

          Even after the February 2022 discussions with the Judicial Watch president, Trump and his

   attorneys continued to acknowledge that the classified records at issue in this case were

   presidential rather than personal. For example, in May 2022, Trump’s former attorney accepted

   service of a grand jury subpoena requiring Trump’s post-presidency office to produce any

   documents with classification markings in its or the former President’s custody. Trump did not

   seek to quash the subpoena or argue in any way that he did not have to comply because he had

   designated any classified records as personal under the PRA. Instead, he hid most of those

   documents from his lawyer, ECF No. 85 ¶¶ 59-63; made false statements to mask his continued

   possession of them, id. ¶¶ 64-71; and attempted to enlist his lawyer in concealing or destroying the

   classified records, id. ¶¶ 55-56, 66-67.

          Around the same time, Trump’s former attorney sent the Government a letter setting out,

   among other things, some legal theories related to the Government’s investigation. Trump’s

   counsel requested that the Government include the letter “on any application made in connection

   with any investigative request concerning this investigation.” See In re Sealed Search Warrant,

   22-mj-8332, ECF No. 156-1 at Exhibit 1. And the Government duly attached it to the affidavit in

   support of the warrant to search Mar-a-Lago. Id. Moreover, in the letter, Trump’s former attorney

   further characterized any documents with classification markings at Mar-a-Lago as follows:

   “There have been public reports about an investigation by DOJ into Presidential Records

   purportedly marked as classified among materials that were once in the White House and

   unknowingly included among the boxes brought to Mar-a-Lago by the movers.” Id. (emphasis

   supplied). Those were the words of Trump’s counsel directly addressing the classified documents

   at issue in this case. The fictional PRA defense was nowhere to be found.

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          Trump’s attorneys took a similar approach in litigation after the execution of the search

   warrant at Mar-a-Lago. For example, in a September 1, 2022, hearing before this Court, Trump’s

   counsel repeatedly described the records at issue as presidential. See Trump v. United States, No.

   9:22-cv-81294, 9/1/2022 Hearing Tr. at 8-9 (S.D. Fla.) (“What we are talking about here, in the

   main, are Presidential records in the hands of the 45th President of the United States at a location

   that was used frequently, during his term as President, to conduct official business.”); id. at 9 (“This

   is, as I say, Presidential records in the hands of 45th President of the United States.”); id. (“And in

   there are, again, Presidential records in the hands of 45th President of the United States.”). And

   he made those representations to the Court not only orally, but in writing. In Trump’s reply filed

   the day before that hearing, he quoted the definition of personal records under the PRA and

   distinguished presidential records from documents containing “highly personal information, such

   as diaries, journals, and medical records.” See Trump v. United States, No. 9:22-cv-81294, ECF

   No. 58 at 15 & n.4 (S.D. Fla.). The items he identified as personal were plainly not classified

   documents, and nowhere did he suggest that the classified documents at issue in this case had been

   designated personal.

          The implausibility of Trump’s fiction was also readily apparent to the Eleventh Circuit,

   which also distinguished personal items like “medical documents, correspondence related to taxes,

   and accounting information” from the highly classified documents at issue in this case:

          For our part, we cannot discern why Plaintiff would have an individual interest in
          or need for any of the one-hundred documents with classification markings.
          Classified documents are marked to show they are classified, for instance, with their
          classification level. Classified National Security Information, Exec. Order No.
          13,526, § 1.6, 3 C.F.R. 298, 301 (2009 Comp.), reprinted in 50 U.S.C. § 3161 app.
          at 290-301. They are “owned by, produced by or for, or . . . under the control of the
          United States Government.” Id. § 1.1. And they include information the
          “unauthorized disclosure [of which] could reasonably be expected to cause
          identifiable or describable damage to the national security.” Id. § 1.4.



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   Trump v. United States, No. 22-13005, 2022 WL 4366684, at *8 (11th Cir. Sep. 21, 2022). As the

   Eleventh Circuit concluded, “Plaintiff does not have a possessory interest in the documents at

   issue, so he does not suffer a cognizable harm if the United States reviews documents he neither

   owns nor has a personal interest in.” Id. at *12.

           On February 22, 2024—more than three years after leaving office—Trump advanced the

   argument to this Court (ECF No. 327) that, because the Superseding Indictment alleged that he

   “caused” boxes to be transported to Mar-a-Lago, see ECF No. 85 ¶ 4, the Court should treat that

   act as equivalent to a considered decision to designate the records as personal, and should further

   hold that such a designation is both unreviewable in a criminal trial and dispositive of whether he

   was legally authorized to possess documents containing classified information for purposes of the

   Espionage Act. The Court should reject Trump’s post hoc legal invention, and the PRA should

   play no role in this trial.7

                                             DISCUSSION

           The Court must decide whether the unstated legal premise embedded in the Court’s recent

   order represents “a correct formulation of the law,” ECF No. 407 at 2—that is, whether the PRA’s

   distinction between personal and presidential records determines whether possession is authorized

   or unauthorized under Section 793(e). The answer to that question is plainly no, for the reasons



           7
             The Government has previously acknowledged (ECF No. 373 at 12 n.4) the theoretical
   possibility that Trump could offer a factual defense at trial “that he did not act willfully because
   he in fact designated the documents as personal and in fact mistakenly believed that the PRA
   provided him with authorization to keep and withhold classified records from NARA and the grand
   jury.” But moving from theory to an actual trial defense requires evidence, and as the background
   section shows, Trump has no evidence to support such a factual defense because he and his
   representatives repeatedly characterized the records as presidential rather than personal long after
   he left the White House. Regardless, such a defense, even if available as a factual matter, would
   have no bearing on the element of “unauthorized possession,” and would not require a modification
   to the Government’s proposed jury instructions for Section 793.

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   set forth at length in the Government’s response to Trump’s motion to dismiss. See ECF No. 373.

   In short, during the period charged in the indictment, authorization to possess classified

   information was governed by Executive Order 13526 and its implementing regulations, which

   applied to Trump as a former President. See EO § 4.4(a)(3); Trump v. United States, 2022 WL

   4366684, at *8. Nothing in the PRA remotely purports to override Executive Order 13526, and

   construing it in that atextual manner would raise serious constitutional concerns. See ECF No.

   373 at 10-12.8 The Government’s proposed jury instruction presented first below reflects the

   premise that the PRA is irrelevant to the element of unauthorized possession.

          The two scenarios posited by the Court, on the other hand, rest on the incorrect premise

   that a former President is authorized to possess classified information—regardless of whether he

   has a security clearance or a need to know, and regardless of whether he complies with applicable

   safeguarding regulations, see 32 C.F.R. § 2001.43—so long as it is contained within a personal

   record. As a result, both of the Court’s scenarios are fundamentally flawed and any jury

   instructions that reflect those scenarios would be error. Nevertheless, as directed by the Court, the

   Government below provides jury instructions for each of these two legally erroneous scenarios.9

          Whatever the Court decides, it must resolve these crucial threshold legal questions

   promptly. The failure to do so would improperly jeopardize the Government’s right to a fair trial


          8
            Because the PRA and the authorities at issue in this case do not conflict, the PRA does
   not impliedly repeal the Government’s authorities. See Carcieri v. Salazar, 555 U.S. 379, 395
   (2009) (“[A]bsent a clearly expressed congressional intention, [a]n implied repeal will only be
   found where provisions in two statutes are in irreconcilable conflict, or where the latter Act covers
   the whole subject of the earlier one and is clearly intended as a substitute.”) (quotation marks and
   ellipses omitted); Ray v. Spirit Airlines, Inc., 767 F.3d 1220, 1225 (11th Cir. 2014) (“when
   Congress passes two statutes that may touch on the same subject, we give effect to both unless
   doing so would be impossible”).
          9
            The Government also attaches as Exhibit 1 a draft verdict form for Counts 1-32. No
   special verdict form is required. As such, the Government proposes using a general verdict form
   for each count, regardless of how the Court resolves the legal questions at issue here.

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   and deprive it of its right to seek appellate review. See Fed. R. Crim. P. 12(d); United States v.

   Wexler, 31 F.3d 117, 129 (3d Cir. 1994); In re United States, 397 F.3d 274, 283 (5th Cir. 2005);

   United States v. Pabon-Cruz, 391 F.3d 86, 91-92 (2d Cir. 2004).

           A. Government’s Proposed Jury Instruction: The Jury Is Correctly Instructed that
              Unauthorized Possession Is Based on Executive Order 13526, Not on the PRA.

           The Government’s proposed preliminary instruction for Counts 1 through 32 is as

   follows:10

                     Counts 1-32: Willful Retention of National Defense Information
                                           18 U.S.C. § 793(e)

           Counts 1 through 32 of the Superseding Indictment charge defendant Trump with the

   willful retention of national defense information in violation of Title 18 of the United States Code,

   Section 793(e). The statute provides, in pertinent part: “[w]hoever having unauthorized possession

   of . . . any document . . . relating to the national defense . . . willfully retains the same and fails to

   deliver it to the officer or employee of the United States entitled to receive it,” commits a crime.

           In order to find defendant Trump guilty of the crime of willfully retaining national defense

   information, the jury must find that the Government proved the following three elements beyond

   a reasonable doubt:

                   First, on or about the dates set forth in the Superseding Indictment, defendant

                    Trump had unauthorized possession of a document;

                   Second, the document related to the national defense of the United States; and




           10
            The Government believes that the jury must decide whether the Government has proved
   beyond a reasonable doubt each of the three elements listed in the proposed jury instruction above.

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                   Third, defendant Trump willfully retained the document and failed to deliver the

                    document to an officer or employee of the United States entitled to receive it.11

          For purposes of Counts 1 through 32, the following definitions apply:

                                         Unauthorized Possession

          “Unauthorized       possession”    means     possession    without    official   approval     or

   permission.12 The United States government has adopted rules that govern the possession of

   classified information.13 Those rules do not apply to a sitting President but apply to former

   Presidents after their term in office has ended.14 Under those rules, an individual’s possession of

   classified information is unauthorized if that individual does not hold a security clearance or the

   individual does not have a need to know the information. 15 “Need to know” means an appropriate

   government official has determined that the individual requires access to the classified information

   in order to perform or assist in a lawful and authorized government function.16 In addition, even

   if an individual holds a security clearance and has a need to know classified information, the

   individual’s possession of the classified information is unauthorized if the individual removes the




          11
            18 U.S.C. § 793(e). See also instructions given in United States v. Ford, No. 05-cr-235,
   Filed Copy at 44-47 (D. Md.) (“Ford Instructions”), available at United States v. Winner, No. 1:17-
   cr-34, ECF No. 122-1 (S.D. Ga. Oct. 13, 2017).
          12
            See ECF No. 373 at 6; see also Webster’s New World College Dictionary 95 (4th ed.
   2002) (defining “authorize” as “to give official approval to or permission for”); Merriam-Webster
   Dictionary, https://www.merriam-webster.com/dictionary/authorized (defining “authorized” as
   “sanctioned by authority: having or done with legal or official approval”).
          13
               Executive Order 13526.
          14
            50 U.S.C. § 3161(a); EO § 4.4(a)(3); Trump v. United States, No. 22-13005, 2022 WL
   4366684, at *8 (11th Cir. Sept. 21, 2022).
          15
               EO § 4.1(a); see Ford Instructions at 45.
          16
               EO § 6.1(dd); see Ford Instructions at 45.

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   classified information from a secure facility or possesses the information outside of a secure

   facility.17

           “Possession” is a commonly used and commonly understood word. Basically, to possess

   something—in this case, documents—means to own or to exert control over it.18 The law

   recognizes several kinds of possession. A person may have actual or constructive possession of a

   thing. “Actual possession” of a thing occurs if a person knowingly has direct physical control of

   it. “Constructive possession” of a thing occurs if a person doesn’t have actual possession of that

   thing but has both the power and intention to take control over it later.19

                                        National Defense Information

           The term “relating to the national defense” is a broad term that refers to United States

   military and naval establishments and the related activities of national preparedness; it includes all

   matters that directly or may be reasonably connected with the defense of the United States against

   its enemies, as well as matters relating to United States foreign policy and intelligence capabilities.

   To prove that a document relates to the national defense, there are two additional things the

   Government must prove. First, it must prove that the disclosure of the material would be

   potentially damaging to the United States or might be useful to a foreign nation or an enemy of the

   United States. Second, it must prove that the material is “closely held” by the United States

   government. A document is “closely held” if the Government has endeavored to keep it from the

   public. In determining whether material is “closely held,” you may consider whether it has been




           17
                 EO § 4.1(g); 32 C.F.R. § 2001.43(b)(1), (2); see Ford Instructions at 45.
           18
                 1A Kevin O’Malley et al., Federal Jury Practice and Instructions § 16:05 (6th ed.).
           19
                 Eleventh Circuit Pattern Jury Instructions (Criminal Cases) Instruction S6 (2022).

                                                       16
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   classified by appropriate authorities and whether it remained classified on the date or dates

   pertinent to the Indictment.20

                                            Willful Retention

          The word “willfully” means that the act was committed voluntarily and purposely, with the

   intent to do something the law forbids; that is, with the bad purpose to disobey or disregard the

   law. While a person must have acted with the intent to do something the law forbids before you

   can find that person acted “willfully,” the person need not be aware of the specific law or rule that

   his conduct may be violating.21

          B. Scenario (a): The Jury Is Incorrectly Instructed that the Defendant Is Authorized
             to Possess Any Personal Record, Regardless of Classification, and the Jury Is Then
             Asked to Determine Whether Each Document Is Personal or Presidential

          Any jury instructions premised on the erroneous legal suppositions set forth in Scenario (a)

   would necessarily be deeply flawed. Scenario (a) posits that the jury would be instructed to

   determine as a factual matter whether the documents charged in Counts 1 through 32 qualified as

   presidential or personal records as defined in the PRA. But that would be asking the jury to make

   a factual finding with no proper legal connection to the charges in this case because the PRA

   designation is irrelevant to the issue of authorization under Section 793, and thus is not relevant to

   whether Trump was authorized under Executive Order 13526 to possess classified documents at

   Mar-a-Lago. The PRA does not speak to authorization to possess classified information, let alone

   in an unsecured facility. The Government nonetheless sets forth below draft text for such an




          20
              Gorin v. United States, 312 U.S. 19, 29 (1941); United States v. Campa, 529 F.3d 980,
   1005 (11th Cir. 2008); United States v. Morison, 844 F.2d 1057, 1071-72 (4th Cir. 1988); United
   States v. Rosen, 445 F. Supp. 2d 602, 620-21 (E.D. Va. 2006); see Ford Instructions at 46.
          21
             Eleventh Circuit Pattern Jury Instructions (Criminal Cases) Instruction B9.1A (2022);
   Bryan v. United States, 524. U.S. 184, 189-92 (1998).

                                                    17
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   instruction as directed by the Court, with the status of the documents as presidential or personal

   records being a question for the jury.

                                       Unauthorized Possession22

          “Unauthorized possession” means possession without official approval or permission. The

   United States government has adopted rules that govern the possession of classified information.

   Those rules do not apply to a sitting President but apply to former Presidents after their term in

   office has ended. Under those rules, an individual’s possession of classified information is

   unauthorized if that individual does not hold a security clearance or the individual does not have a

   need to know the information. “Need to know” means an appropriate government official has

   determined that the individual requires access to the classified information in order to perform or

   assist in a lawful and authorized government function. In addition, even if an individual holds a

   security clearance and has a need to know classified information, the individual’s possession of

   the classified information is unauthorized if the individual removes the classified information from

   a secure facility or possesses the information outside of a secure facility.

          I instruct you, however, that, as to a former President, even if he lacks a security clearance,

   lacks a need to know classified information, and stores information outside of a secure facility, he

   is authorized to do so if the classified information is contained within a “personal record,” as that

   term is defined by the Presidential Records Act (PRA), a statute that establishes the public

   ownership of presidential records and ensures the preservation of presidential records for public

   access after the termination of a President’s term in office.23



          22
            The instructions for the other elements, besides “unauthorized possession,” would be
   the same as those set forth in Proposal One above.
          23
            Armstong v. Bush, 924 F.2d 282, 290 (D.C. Cir. 1991); see Presidential Records Act of
   1978, Pub. L. No. 95-591, 92 Stat. 2523 (1978).

                                                    18
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           Therefore, to determine whether the defendant had “unauthorized possession” of the

   documents charged in Counts 1-32, you must determine whether each document was a

   “presidential record” or a “personal record” within the meaning of the PRA. I will now instruct

   you on those terms.

           The term “presidential record” means any documentary material, or any reasonably

   segregable portion thereof, created or received by the President, the President’s immediate staff,

   or a unit or individual of the Executive Office of the President whose function is to advise or assist

   the President, in the course of conducting activities which relate to or have an effect upon the

   carrying out of the constitutional, statutory, or other official or ceremonial duties of the President.24

   Presidential records do not include “personal records.”25

           The term “personal record” means any documentary material, or any reasonably segregable

   portion thereof, of a purely private or nonpublic character which do not relate to or have an effect

   upon the carrying out of the constitutional, statutory, or other official or ceremonial duties of the

   President, and includes (A) diaries, journals, or other personal notes serving as the functional

   equivalent of a diary or journal which are not prepared or utilized for, or circulated or

   communicated in the course of, transacting Government business; (B) materials relating to private

   political associations, and having no relation to or direct effect upon the carrying out of

   constitutional, statutory, or other official or ceremonial duties of the President; and (C) materials

   relating exclusively to the President’s own election to the office of the presidency; and materials

   directly relating to the election of a particular individual or individuals to Federal, State, or local




           24
                44 U.S.C. § 2201(2).
           25
                44 U.S.C. § 2201(2)(B).

                                                      19
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   office, which have no relation to or direct effect upon the carrying out of constitutional, statutory,

   or other official or ceremonial duties of the President.26

          C. Scenario (b): The Jury Is Incorrectly Instructed that the Defendant Is Authorized
             to Possess Any Record that He Designated as Personal, and Is Further Incorrectly
             Instructed that, by Failing to Transfer the Charged Documents to NARA, the
             Defendant Made the Unreviewable Decision to Designate the Charged Documents
             as Personal

          Like Scenario (a), proposed Scenario (b) rests on the erroneous and unsupported legal

   proposition that the designation of records as either personal or presidential under the PRA has an

   impact on whether a person is authorized to possess classified documents under Section 793(e). It

   has no such impact. But Scenario (b) also incorporates additional layers of erroneous legal

   propositions at the core of Trump’s legally flawed and factually unsupported PRA defense. As to

   this scenario, the jury instruction would amount to nothing more than a recitation of Trump’s PRA

   defense as presented in his motion to dismiss and would result in directing a verdict against the

   Government. As set forth above, the Court should deny Trump’s motion to dismiss and reject any

   such jury instruction. Nevertheless, as directed by the Court, the Government sets forth below a

   draft jury instruction regarding unauthorized possession that assumes Scenario (b) to be “a correct

   formulation of the law.” ECF No 407 at 2.

                                       Unauthorized Possession27

          “Unauthorized possession” means possession without official approval or permission. The

   United States government has adopted rules that govern the possession of classified information.

   Those rules do not apply to a sitting President but apply to former Presidents after their term in

   office has ended. Under those rules, an individual’s possession of classified information is


          26
               44 U.S.C. § 2201(3).
          27
            The instructions for the other elements, besides “unauthorized possession,” would be
   the same as those set forth in Proposal One above.

                                                    20
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   unauthorized if that individual does not hold a security clearance or the individual does not have a

   need to know the information. “Need to know” means an appropriate government official has

   determined that the individual requires access to the classified information in order to perform or

   assist in a lawful and authorized government function. In addition, even if an individual holds a

   security clearance and has a need to know classified information, the individual’s possession of

   the classified information is unauthorized if the individual removes the classified information from

   a secure facility or possesses the information outside of a secure facility.

          I instruct you, however, that, as to a former President, even if he lacks a security clearance,

   lacks a need to know classified information, and stores information outside of a secure facility, he

   is authorized to do so if the classified information is contained within a “personal record,” within

   the meaning of the Presidential Records Act (PRA), a statute that establishes the public ownership

   of presidential records and ensures the preservation of presidential records for public access after

   the termination of a President’s term in office.

          The PRA defines the term “personal records” to mean all documentary materials, or any

   reasonably segregable portion thereof, of a purely private or nonpublic character which do not

   relate to or have an effect upon the carrying out of the constitutional, statutory, or other official or

   ceremonial duties of the President, and includes (A) diaries, journals, or other personal notes

   serving as the functional equivalent of a diary or journal which are not prepared or utilized for, or

   circulated or communicated in the course of, transacting Government business; (B) materials

   relating to private political associations, and having no relation to or direct effect upon the carrying

   out of constitutional, statutory, or other official or ceremonial duties of the President; and (C)

   materials relating exclusively to the President’s own election to the office of the presidency; and

   materials directly relating to the election of a particular individual or individuals to Federal, State,



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   or local office, which have no relation to or direct effect upon the carrying out of constitutional,

   statutory, or other official or ceremonial duties of the President.

          By contrast the PRA defines the term “Presidential records” to mean any documentary

   materials, or any reasonably segregable portion thereof, created or received by the President, the

   President’s immediate staff, or a unit or individual of the Executive Office of the President whose

   function is to advise or assist the President, in the course of conducting activities which relate to

   or have an effect upon the carrying out of the constitutional, statutory, or other official or

   ceremonial duties of the President. Presidential records do not include “personal records.”

          I further instruct you that a President has unreviewable authority to designate any record

   whatsoever as personal, regardless of whether it meets the statutory definitions I have just

   provided. I further instruct you that, if, before the end of his term in office, a President transfers

   records from the White House to any location other than the National Archives and Records

   Administration, as alleged in the Superseding Indictment, he has necessarily exercised his

   unreviewable authority to designate those records as personal and, as a matter of law, he is

   authorized to possess them and you may not find him guilty.

                                             CONCLUSION

          For the reasons set forth above and in the Government’s opposition to Trump’s motion to

   dismiss based upon the PRA, the Court should reject the legal premise that the PRA’s distinction

   between personal and presidential records has any bearing on the element of unauthorized

   possession under Section 793(e). As such, it should deny Trump’s pending motion to dismiss and

   adopt preliminary jury instructions as proposed by the Government above. If, however, the Court

   does not reject that erroneous legal premise, it should make that decision clear now, long before

   jeopardy attaches, to allow the Government the opportunity to seek appellate review.



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                                      Respectfully submitted,

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   April 2, 2024




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 2, 2024, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

   Notices of Electronic Filing.

                                               /s/ Jay I. Bratt
                                               Jay I. Bratt




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